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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 18-cv-24192-KMW

  CARLOS SANCHEZ,

           Plaintiff,

  vs.

  SECRETARY, FLORIDA DEPARTMENT
  OF CORRECTION, et al.

           Defendants.
                                 ______/

                                              ORDER

           THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s report

  and recommendation (DE 41) (“Report”) on Petitioner’s amended petition for writ of

  habeas corpus under 28 U.S.C. § 2254 (DE 8). Petitioner filed objections to the Report

  (“Objections”). (DE 43). Upon an independent review of the Report, the Objections, the

  record, and applicable case law, it is ORDERED AND ADJUDGED that:

        1. The conclusions in the Report (DE 41) are AFFIRMED AND ADOPTED.

        2. The Amended Petition for writ of habeas corpus under 28 U.S.C. § 2254 (DE 8) is
           DENIED.

        3. This action is DISMISSED.

        4. No certificate of appealability shall issue.

        5. All pending motions are DENIED AS MOOT.

        6. The Clerk is directed to CLOSE this case.

           DONE AND ORDERED in Chambers in Miami, Florida, this 29th day of December,

  2020.
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  cc:
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